         Case 2:05-cr-00034-KJM Document 274 Filed 05/25/11 Page 1 of 3


                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM

Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                        RE:
                                              Docket Number: 2:05CR00034-04
                                              CONTINUANCE OF DISPOSITIONAL
                                              HEARING


Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from June 1, 2011 to June 21, 2011 at 9:15 a.m.

REASON FOR CONTINUANCE: Undersigned is in training all day on June 1, 2011.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.

                                Respectfully submitted,

                                 /s/ Glenn P. Simon

                                  Glenn P. Simon
                       Senior United States Probation Officer

REVIEWED BY:        /s/ Lori L. Koehnen
      For           Michael A. Sipe
                    Supervising United States Probation Officer

Dated:        May 23, 2011
              Sacramento, California




                                          1                                        Rev. 10/2009
                                                              CONTINUANCE ~ TO JUDGE (EJG).MRG
       Case 2:05-cr-00034-KJM Document 274 Filed 05/25/11 Page 2 of 3


RE:   Robert ROBINSON
      Docket Number: 2:05CR00034-04
      CONTINUANCE OF DISPOSITIONAL HEARING


cc:   Clerk, United States District Court
      United States Attorney's Office
      United States Marshal's Office
      Federal Defender (If defense counsel is court-appointed)
      Probation Office Calendar clerk



 X    Approved                                                              5-24-2011
                          LAWRENCE K. KARLTON
                          Senior United States District Judge               Date
      Disapproved




                                          2                                       Rev. 10/2009
                                                             CONTINUANCE ~ TO JUDGE (EJG).MRG
Case 2:05-cr-00034-KJM Document 274 Filed 05/25/11 Page 3 of 3




                              3                                     Rev. 10/2009
                                               CONTINUANCE ~ TO JUDGE (EJG).MRG
